Case 2:09-cr-00015-EFS   ECF No. 2459   filed 10/18/10   PageID.14080 Page 1 of 6
Case 2:09-cr-00015-EFS   ECF No. 2459   filed 10/18/10   PageID.14081 Page 2 of 6
Case 2:09-cr-00015-EFS   ECF No. 2459   filed 10/18/10   PageID.14082 Page 3 of 6
Case 2:09-cr-00015-EFS   ECF No. 2459   filed 10/18/10   PageID.14083 Page 4 of 6
Case 2:09-cr-00015-EFS   ECF No. 2459   filed 10/18/10   PageID.14084 Page 5 of 6
Case 2:09-cr-00015-EFS   ECF No. 2459   filed 10/18/10   PageID.14085 Page 6 of 6
